            Case 1:18-cv-00798-AJ Document 29 Filed 09/09/20 Page 1 of 1


                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW HAMPSHIRE

PAMELA BOND,

       Plaintiff

v.                                                       Civil Case No. 1:18-cv-00798-AJ

SIG SAUER, Inc.,

       Defendant

                     STIPULATION OF DISMISSAL WITH PREJUDICE


       The parties, by their counsel, hereby stipulate that this action is dismissed, with prejudice

and without costs or interest, pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii).



                                                Respectfully Submitted,

                                                SIG SAUER, INC.,
                                                By its attorneys,
                                                JACKSON LEWIS P.C.,

Date: September 9, 2020                   By:         /s/Martha Van Oot
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                                                PAMELA BOND
                                                By her attorneys,
                                                DOUGLAS, LEONARD & GARVEY, P.C.,

Date: September 9, 2020                         By:      /s/ Megan Douglass, Esq.
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